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Exposure Claims Over Which There Is No
Federal Jurisdiction

                            UNITED STATES DISTRICT COURT

                        NORTHERN DISTRICT OF CALIFORNIA

IN RE: ROUNDUP PRODUCTS LIABILITY               MDL No. 2741
LITIGATION                                      Case No. 16-md-02741-VC

This document relates to:                       CATEGORY 2 OBJECTORS’ OPPOSITION
                                                TO MOTION TO AMEND PRE-TRIAL
ALL CASES                                       ORDER 12: COMMON BENEFIT FUND
                                                ORDER TO ESTABLISH A HOLDBACK
                                                PERCENTAGE (D.E. 12394)

                                                Hearing date: March 3, 2021
                                                Time: 1:00 PM




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         Objectors are individuals whose claims are not filed in the MDL and whose counsel have

not signed the participation agreement but whose counsel have other clients whose cases are

pending in the MDL. In their Motion, Co-Lead Counsel (“CLC”) ask this Court to tax the proceeds

from all Roundup cases handled by attorneys described in PTO 12 with an 8.25% holdback

assessment to be ultimately paid to the CLC and lawyers chosen by them. See Doc. 12394. This

Opposition brief conforms to the questions asked in the Court’s January 26, 2021 Order (Doc.

12463), quoted below. For the reasons stated herein, the CLC’s Motion should be denied.

    1. Given how this case has developed, is it necessary to issue an order requiring that a percentage
       of each recovering plaintiff’s attorney’s fees be held back for potential distribution to co-lead
       counsel?

         Answer: No. Objectors estimate that MDL Leadership will receive substantial fees well in

excess of any reasonable multiplier of the loadstar they have generated based solely on the

settlement of their own clients and those referred to them for settlement. 1 Unsatisfied with their

fortune, the CLC asks the Court to force the holdback and deposit of well over $800 million

dollars, representing 8.25% of all gross past, present, and future settlements. 2 Notably, 8.25% of

gross settlement proceeds amounts to over 20% of net attorneys’ fees, basically from all counsel

nationwide. MDL Leadership does not need a holdback of over $800 million, in order to avoid

“the unjust enrichment” of counsel and Roundup victims in cases in which the CLC failed to

perform a minute of legal work.




1
  The Affidavit of James Onder details these numbers. Exhibit 1, Onder Aff., ¶¶ 10-12. The Court,
however, is in a better position to determine this information. See also Answer to Question 2, infra.
2
   https://www.wsj.com/articles/bayer-posts-third-quarter-loss-on-agriculture-woes-11604393190
states Bayer has reserved $10.9 billion to settle Roundup litigation.
                                                   1
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       The CLC does not come close to deserving this enormous additional payout. The CLC

owed a fiduciary duty to the litigation as a whole. 3 MDL Leadership, however, refused to help any

of the Roundup victims they do not represent. Certain CLC went so far as to solicit referrals from

Objectors’ counsel to enhance their own settlements. In some instances, CLC attempted to push

firms into settlement with threats that they were going to be left out in the cold with no experts, no

depositions, and no trial package. 4 For the CLC to receive a share of objecting clients’ gross

settlements, the CLC would have had to act for the benefit of those clients, but they did not. 5

    A. Objectors’ Counsel, Rather Than MDL Leadership, Provided Legal Services to
       Objecting Clients.
       The signatories to this brief are counsel with an overwhelming majority of clients whose

cases are not filed in in this MDL, and whose clients the CLC seeks to involuntarily sweep into

PTO 12 via a relatively tiny handful of clients whose cases are filed in this MDL. The CLC’s

motion falsely claims that it “conducted the substantial work of the litigation in . . . state courts,”

that “the MDL Leadership conducted most of the state court litigation,” and that from March 2015

through March 2020, the CLC and EC “advocat[ed] on behalf of all plaintiffs” in state courts. 6

Based on these assertions, the CLC requests a ruling that “all cases described in PTO 12 benefit

from” the MDL efforts. 7 As to the Objecting clients, the CLC’s claims are false.

       Tens of thousands of clients are represented by Objectors’ counsel. 8 Objectors’ counsel did

not sign participation agreements, the CLC did not give Objectors’ counsel the work product and



3
  See Category 3 Objectors’ Opposition to Motion to Amend PTO 12 Common Benefit Fund filed
this day and adopted herein, at § III.C.
4
  Exhibit 1, Onder Aff., ¶¶ 19-20, 24-26.
5
  See Boeing Co. v. Van Gemert, 444 U.S. 472, 478 (1980) (discussed infra).
6
  CLC Mot., 1:6, 2:6, 2:15-17 [Doc. 12394, Pages 7-8 of 33]
7
  See Proposed Order, 2:27 [Doc. 12394-26, Page 2 of 4].
8
   See Exhibit 1, Onder Aff., ¶¶ 4-8; Exhibit 2, Declaration of Andrew W. Hutton, ¶ 2; Exhibit 3,
Declaration of N. Majed Nachawati, ¶ 2; Exhibit 4, Declaration of Behram V. Parekh, ¶ 2; Exhibit
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transcripts the CLC brags about developing, and the sworn statements filed herewith describe the

consistent failure of MDL Leadership to provide any discovery materials to assist Objectors’

counsel in representing their clients. 9 The CLC did not benefit Objecting clients, represent them,

advise them, did not advocate or negotiate for them, and did not help them settle their cases. 10

       The CLC’s representation to this Court, that the MDL Leadership represent “all plaintiffs”

in state court, 11 is conspicuously inaccurate. Objectors’ counsel whom the CLC refused to help

have been litigating in state court in Missouri. One such counsel, OnderLaw, LLC, represents

22,318 cases that have not settled, and the firm entered the litigation in 2016. 12 MDL Leadership

refused to share any “common benefit” work product, and the firm was required to associate with

counsel to help work up its cases. An MDL holdback would be akin to double taxation.13

OnderLaw has actively worked up the litigation for its tens of thousands of clients with no help

from MDL Leadership, which work includes document productions, noticed depositions, retaining

new experts, and working with experts on opinions and reports, all without MDL assistance. 14

Over Monsanto’s objections, and following hearings before Special Master Prebil (whose fees

Objectors’ counsel, not CLC, are splitting with Monsanto), OnderLaw succeeded in securing

deposition dates for Monsanto witnesses, with no help from the CLC.




5, Declaration of Nick H. Johnson, ¶ 2; Exhibit 6, Declaration of Timothy A. Scott, ¶ 2; Declaration
of D. Todd Mathews, ¶ 2; Exhibit 8, Declaration of Adam Pulaski, ¶ 2.
9
  See Exhibit 1, Onder Aff., ¶¶ 19-29; Exhibit 2, Hutton Decl., ¶¶ 3-8; Exhibit 3, Nachawati Decl.,
¶¶ 4-10; Exhibit 4, Parekh Decl., ¶¶ 3, 5-8; Exhibit 5, Johnson Decl., ¶¶ 3-4, 8-15; Exhibit 6, Scott
Decl., ¶¶ 4, 6-9; Exhibit 7, Mathews Decl., ¶¶ 3, 5-9; Exhibit 8, Pulaski Decl., ¶¶ 4, 6-15.
10
   See id.; see also Exhibit 5, Johnson Decl., ¶ 10.
11
   CLC Mot., 2:15-17 [Doc. 12394, Page 8 of 33].
12
   Exhibit 1, Onder Aff., ¶¶ 4-8, 27. Cf. also Exhibit 3, Nachawati Decl. ¶ 3 (since 2018).
13
   Id. at ¶¶ 29-30.
14
   Id. at ¶¶ 5, 27-29.
                                                  3
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       The CLC misleadingly contends MDL efforts are responsible for successful representation

of plaintiffs in Missouri courts. 15 In truth, the MDL Leadership abandoned the unsettled Missouri

litigation.16 Three Special Masters have been appointed in St. Louis County or City Circuit Courts.

Special Discovery Master Hon. Thomas Prebil (ret.) and Special Discovery Master Hon. Glenn

Norton (ret.) were appointed years ago to preside over discovery disputes and Objectors’ counsel,

rather than MDL Leadership, have litigated before them and contributed to their fees. Recently,

Special Master Robert Blitz was appointed to further facilitate discovery and a settlement program

in St. Louis County, and he appointed Jim Onder to be the point person in the St. Louis County

program – not MDL Leadership. 17 MDL Leadership did not seek nor receive an order from a

Missouri court—a court with jurisdiction over Objecting clients filed in that court—recognizing

their entitlement to any “common benefit” compensation. 18 In short, the CLC’s Motion’s

discussion of Missouri litigation is incomplete and misleading.

     B. Members of the CLC Used their Position to Benefit Themselves to the Detriment of
        Objectors.
        The CLC’s demand that Objectors pay part of their settlement to the MDL Leadership is

all the more unjustified because the CLC has acted in its own self-interest, actively impeding the

efforts of Objectors’ counsel to represent Objecting clients. The statements in the CLC’s motion

help illustrate this point. The CLC boasts they and the PEC “retain[ed] the world’s leading experts

in their respective fields.” 19 To the extent this is true, it not only fails to support the CLC’s fee




15
   E.g., CLC Mot., 5 [Doc. 12394, Page 11 of 33].
16
   See Exhibit 1, Onder Aff., at ¶ 32.
17
    Id. at ¶ 34.
18
   See Exhibit 2, Hutton Decl., ¶ 10; Exhibit 5, Johnson Decl., ¶ 16; .Exhibit 6, Scott Decl., ¶ 13;
Exhibit 7, Mathews Decl., ¶ 10; Exhibit 8, Decl. Pulaski, ¶¶ 15-16.
19
   CLC Mot., 4:2 [Doc. 12394, Page 10 of 33].
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demand, but it proves the opposite—the CLC harmed everyone other than their own clients by

monopolizing “the world’s leading experts” for their benefit, to the detriment of everyone else.

       Sworn statements filed herewith document that the MDL Leadership did not make its

experts available for Objecting clients’ cases. 20 That expert witnesses would not be provided as a

“common benefit” was announced at a conference. 21 The unavailability of the MDL experts has

been used
                                                                        22
                                                                             Objectors’ counsel were

repeatedly told                                                                       and in calls with
                                                                                 23
representatives of leadership firms,



          24
               On this topic, a leadership firm member said, “I am pretty much a genius when it

comes to this” and “you will never be able to duplicate it”; and other remarks included, “Who are

you going to get as experts? We have all of them tied up.” 25

       The CLC’s exclusionary control of experts, and their refusal to provide anything

constituting an MDL common benefit trial package, was expressly used as part of the CLC’s

attempt to force other law firms to grant them a part of their attorneys’ fees by agreement. Certain

members of the CLC unsuccessfully attempted to obtain referrals to them by representing that their

clients would receive premium settlement offers and that, allegedly, everyone else had to go into



20
   See Exhibit 1, Onder Aff., ¶¶ 16-31; Exhibit 2, Hutton Decl., ¶¶ 7-8; Exhibit 3, Nachawati Decl.,
¶¶ 8-9; Exhibit 4, Parekh Decl., ¶¶ 7-8; Exhibit 5, Johnson Decl., ¶¶ 9-13; Exhibit 6, Scott Decl.
¶¶ 9, 11-12; Exhibit 7, Mathews Decl., ¶¶ 7-8; Exhibit 8, Pulaski Decl., ¶¶ 8-9.
21
   Exhibit 6, Scott Decl. ¶ 11.
22
   See Exhibit 1, Onder Aff., ¶¶ 16-26.
23
   See id.
24
   Id. at ¶ 22.
25
   Id. at ¶ 26.
                                                  5
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                                                                                      26
business with them, because                                                                The proof filed

herewith includes a description of conversations with leadership firms,

              and other attorneys, and describes repeated representations. 27 One Objector considers

the CLC’s requests for referral fee agreements to be “an abuse of power that this court bestowed

upon them in honoring their request to become lead counsel.” 28

         Not only did the MDL Leadership leverage their position in this case for their own benefit,

but Objectors’ counsel were led to believe that



           . 29

     2. Can the Court meaningfully evaluate the need for a hold-back without understanding how much
        of a premium co-lead counsel has already received on their settlements compared to the typical
        settlement? To give a purely hypothetical example, what if the typical settlement was for
        $200,000, but the settlements for the clients of co-lead counsel averaged $800,000? The
        difference would presumably have been intended, at least in part, to compensate co-lead
        counsel for their investment in the case as compared to the investment by the typical plaintiff’s
        attorney. This could perhaps affect the question of whether a hold-back is necessary (and if so,
        how much the hold-back should be). If the Court needs this information to meaningfully
        evaluate the necessity of a hold-back, should it request a report from the Special Master on the
        extent to which co-lead counsel has already received a premium on the settlements for their
        clients?

         Answer: A meaningful evaluation requires this information.30 Objectors’ counsel

believe that the




26
    See Exhibit 1, Onder Aff., ¶¶ 16-24.
27
   See id., ¶¶ 23-25.
28
    See Exhibit 8, Pulaski Decl., ¶¶ 11-12.
29
   Exhibit 1, Onder Aff., ¶¶ 15-16, 20.
30
    See In re High Sulfur Content Gasoline Prods. Liab. Litig., 517 F.3d 220, 232 (5th Cir. 2008)
(reversing fee award, finding that objectors were not given sufficient information and that the
district court’s analysis was too limited: “The court . . . should have been able to compare the
contributions of all plaintiffs' attorneys in order to determine if the fee allocation was equitable.”).
                                                     6
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         . 31 Further, some Objectors’ counsel were told that                                   because

they could not access the MDL litigation material and experts, and that as a corollary, they would

                                               . 32 While the CLC’s motion should be denied for lack

of jurisdiction and, independently, for lack of any enhancement of Objectors’ claims, Objectors

also request in camera inspection of the MDL Leadership’s settlement agreements with

Defendants to confirm that these lawyers already have received enormous sums in fees. In camera

review of not just the agreements, but the negotiations, also would determine whether Leadership

used their position to harm Objectors, e.g., by promising not to share the very MDL work product

for which they now seek payment, and by agreeing to attempt to take experts off the table for other

counsel. 33 This information is important because the order the CLC seeks will entitle them to a

holdback of well over $800 million—something they fail to discuss in their motion. The CLC

further demands not just a holdback of already settled cases, but all cases that might settle in the

future. Further, the public right to access court proceedings applies where, as here, public health

and safety, and billions of dollars, are at issue. 34

     3. If a hold-back is warranted, should the Court consider anew the universe of cases that should
        be subject to a hold-back? Should it include state court cases or only federal cases? Should it
        include cases in which a settlement has already been reached and money has already changed
        hands, or should it be limited to the cases that have not yet settled?

          Answer: A hold-back order cannot dictate the deposit of proceeds from cases and

controversies over which the Court lacks jurisdiction. The order should exclude all plaintiffs


31
    See Exhibit 1, Onder Aff., at ¶¶ 10, 15-16, 18-24.
32
    See id.
33
   This appears to be the case. See, e.g., Exhibit 1, Onder Aff., ¶¶ 15, 16, 19, 23.
34
   See, generally, In re McClatchy Newspapers, Inc., 288 F.3d 369, 374 (9th Cir. 2002) (discussing
that “a substantial governmental interest” is necessary to overcome the First Amendment right to
access court records and files); Pansy v. Borough of Stroudsburg, 23 F.3d 772, 787 (3d Cir. 1994)
(“Circumstances weighing against confidentiality exist when confidentiality is being sought over
information important to public health and safety.”) (Citation omitted).
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and potential plaintiffs that are not currently pending in the MDL or are subject to motions to

remand to state court, and/or where counsel did not sign a participation agreement.

     A. That a Tiny Fraction of Objectors’ Counsels’ Cases Were Transferred to the MDL
        Does Not Establish Jurisdiction to Dictate a Holdback from non-MDL Clients.

        The CLC ignores that the Court is without jurisdiction to order payments from “all parties

and counsel described in” 35 Paragraph 4 of PTO 12. 36 Presumably, the CLC believes Objectors

are swept up in PTO 12 ¶ 4, because a tiny fraction of Objectors’ counsels’ clients’ cases are in

this MDL, sometimes after being filed in state court, wrongfully removed, and transferred. 37 This

is irrelevant to establishing jurisdiction over the tens of thousands of Roundup victims that have

or will be filed in state courts, or which are not filed at all, because jurisdiction must exist over the

individual case and controversy. This is true regardless of whether the same defendant or the same

lawyers are before the federal court. The same defendants and counsel appear in more than one

court all the time, but that is not an excuse for one court to issue orders in a case pending elsewhere,

or as to clients never filed in any court.

        The CLC cites inapposite common benefit decisions, ignoring the proper scope of the

doctrine, and incorrectly presupposing that “unjust enrichment,” even were this claim factually

accurate (and it is not), could substitute for federal jurisdiction to render a ruling on the unjust




35
   See Proposed Order, 2:22 [Doc. 12394-26, Page 2 of 4].
36
    PTO 12 ¶ 4 includes in its scope every case held by an attorney or a law firm if even a single
case of that attorney or firm is in the MDL. [Doc. 161, Page 5 of 7].
37
   See Exhibit 1, Onder Aff. ¶7 (less than 1/10 of 1%); Exhibit 2, Hutton Decl., ¶ 2 (3 of 214);
Exhibit 3, Nachawati Decl., ¶¶ 2-3 (4 of 4,814); Exhibit 4, Parekh Decl., ¶ 2 (3 of 3800); Exhibit
5, Johnson Decl. ¶ 2 (.1%); Exhibit 6, Scott Decl., ¶ 2 (4 of 750); Exhibit 7, Matthew Decl., ¶ 2
(27 of 617 total); see also Exhibit 8, Pulaski Decl., ¶ 3 (zero out of 2,181).
                                                 8
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enrichment doctrine in the first place. 38 In order to decide if Roundup victims owe the CLC money

under the doctrine of “unjust enrichment,” the Court would have to have subject matter jurisdiction

over each case and controversy and personal jurisdiction over each Objector. The Court does not.

See also Objection of Non-Participating Counsel to Pls. CLC’s Mot. to Supp. PTO 12 filed this

day by Jeffrey A. Lamken, which briefing undersigned join and adopt.

        Controlling precedent compels the conclusion that a common benefit holdback cannot be

imposed unless the Court has jurisdiction over the specific individual case and controversy— just

the same defendant, the same mass tort, and the same counsel are insufficient. The Ninth Circuit

in Hartland v. Alaska Airlines, 544 F.2d 992 (9th Cir. 1976), held that an MDL court exceeds its

jurisdiction when it orders a common benefit holdback from settlement proceeds of claims not

before the federal court—even where plaintiffs’ counsel asked the federal court to approve the

settlement and submitted a stipulation accordingly. The MDL at issue in Hartland was established

for claims arising from a plane crash, but did not include the claims against the airline of the estates

of two deceased passengers, Sampson and Golub. 544 F.2d at 994. The MDL court appointed

lawyers to conduct discovery and ruled a common fund distribution of fees and costs would be

made. Id. at 995-96. When Alaska Airlines settled the Sampson claim it required the federal MDL

court’s approval, and Sampson’s counsel requested this approval while explaining that nothing

was owed to the common benefit fund. Id. at 996. The MDL court signed an order approving the

settlement but also ordered a common benefit holdback be deposited in the Court’s registry for

future disbursement to court-appointed counsel. Id. As to the Golub estate, it had a case in the

federal court against the United States and in state court against the airline. Id. at 997-98. The


38
   See, e.g., CLC Mot., 8:10-12 [Doc. 12394, Page 14 of 33]; Proposed Order, 2:7-9 [Doc. 12394-
26, Page 2 of 4] (contending a common benefit order allegedly is justified, because it “prevent[s]
unjust enrichment . . . .”).
                                               9
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settlement with the airline released the United States as well, and the MDL court ordered a portion

of fees be retained for common benefit distribution, again over objection. Id. at 999.

       When the Sampson and Golub plaintiffs filed appeals, the Ninth Circuit “treat[ed] each as

a petition for mandamus since they both relate to the usurpation of power by the District Court.”

Id. at 1001. Hartland reasons that, “[w]hen a district court has taken action which a party claims

was beyond its jurisdiction as distinguished from being erroneous within its jurisdiction, this Court

has the power to set matters right.” Id. (citing 28 U.S.C. § 1651; Will v. United States, 389 U.S.

90, 95-96, 98 n. 6 (1967)). The Ninth Circuit granted writs of mandamus and ordered the return of

the holdbacks filed in the court registry. 544 F.2d at 1002. Of import here, the Ninth Circuit held

that the district court lacked jurisdiction notwithstanding that federal approval of a settlement had

been requested, and notwithstanding that the state court settlement release also released the United

States, which was the defendant in the Golub case that was pending in the federal court. The actions

of court appointed counsel presumably benefited these plaintiffs, however, that was not at issue in

the Ninth Circuit’s reasoning, nor was the request for settlement approval the issue. The presence

of the same defendants involving the same accident was not the issue either. Hartland stands for

the proposition that a federal court lacks jurisdiction to order the deposit of funds for future

common benefit compensation if those funds were for the settlement of clients and claims over

which the court lacks subject matter jurisdiction.

       Hartland makes very clear that common benefit holdback orders must meet the

requirements of federal subject matter jurisdiction. Unlike most arguments, objections to subject

matter jurisdiction can be raised at any point in the litigation and need not be raised by the parties




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at all, because courts must consider subject matter jurisdiction sua sponte. 39 The CLC motion

simply presumes federal jurisdiction to order expense and fee payments over Objectors not before

the Court, but this is fundamentally wrong—jurisdiction can never be presumed. 40

       Hartland’s progeny amply reinforces the jurisdictional limits cabining MDL common

benefit orders. Any arguments about the same defendants, the same lawyers, continuity of issues,

or what is equitable cannot substitute for subject matter jurisdiction: “a transferee court’s

jurisdiction in multi-district litigation is limited to cases and controversies between persons who

are properly parties to the cases transferred.” In re Showa Denko K.K. L-Tryptophan Prods. Liab.

Litig., 953 F.2d 162, 165–66 (4th Cir. 1992) (citing Hartland) (emphasis supplied); see also In re

Baycol Prods., No. MDL 1431MJD/JGL, 2004 WL 1058105, at *3 (D. Minn. May 3, 2004)

(quoting same). Hartland consistently has been cited by district court judges who specifically

reject the argument that jurisdiction over the same defendant and/or plaintiffs’ lawyers suffices to

impose a common benefit assessment; the court must have jurisdiction over the specific case and

controversy. 41


39
     Fort Bend Cnty., Texas v. Davis, 139 S. Ct. 1843, 1849 (2019) (holding subject-matter
jurisdiction may be raised “‘at any point in the litigation’” and courts must consider them “sua
sponte.”) (Quoting Gonzalez v. Thaler, 565 U.S. 134, 141 (2012)). See also Arbaugh v. Y&H
Corp., 546 U.S. 500, 514 (2006).
40
   “Federal courts are courts of limited jurisdiction. They possess only that power authorized by
Constitution and statute, which is not to be expanded by judicial decree,” and “[i]t is to be
presumed that a cause lies outside this limited jurisdiction[.]” Kokkonen v. Guardian Life Ins. Co.
of Am., 511 U.S. 375, 377 (1994) (citations omitted).
41
   See, e.g., In re Genetically Modified Rice Litig., No. 4:06MD1811 CDP, 2011 WL 601627, at
*1 (E.D. Mo. Feb. 11, 2011) (“Simply because this Court has jurisdiction over an attorney, a
defendant, or a plaintiff in one case does not mean that it has jurisdiction over them in their state
court cases, even if they assert essentially the same claims.”) (Citing Hartland, 544 F.2d at 1001,
and Showa Denko, 953 F.2d at 166–67); In re Lidoderm Antitrust Litig., No. 14-MD-02521-WHO,
2017 WL 3478810, at *3 (N.D. Cal. Aug. 14, 2017) (“[D]istrict courts operating pursuant to their
multi-district litigation powers do ‘not have jurisdiction to order holdbacks from state-court
plaintiffs’ recoveries’ absent some ‘independent basis for jurisdiction over these state-court
actions.’”) (Quoting In re Genetically Modified Rice Litig., 764 F.3d 864, 873 (8th Cir. 2014); also
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       Discussing Hartland, Showa Denko, and Genetically Modified Rice, the Third Circuit in In

re Avandia Mktg., Sales Practice & Prods. Liab. Litig., concluded that, “had the District Court

simply ordered the firm, as total strangers to the litigation, to contribute to the common benefit

fund from the settlement of its clients’ state-court cases, it would have exceeded its jurisdiction.”

617 F. App'x 136, 141 (3d Cir. 2015). Therefore, jurisdiction for an assessment could not be based

solely on the fact that the attorney had cases pending in the MDL.

       The CLC ignores Ninth Circuit precedent when arguing, “[i]mportantly, the [CLC] is only

requesting a holdback.” CLC Mot., 1:24 n.1 [Doc. 12394, Page 7 of 33]. Hartland illustrates the

abundantly logical point that if the Court lacks jurisdiction to disburse funds, then it lacks

jurisdiction to order deposit of funds for future disbursement. 42 Notably, the CLC cites nothing to

support its claim that the difference between deposit and disbursement is “important[]” where, as

here, there is no subject matter jurisdiction either way. See CLC Mot., 1:24-28 n.1.


citing Hartland, 544 F.2d at 1001). The district court in Lidoderm held that jurisdiction over the
defendants does not equate with the necessary “jurisdiction over the recoveries,” because those
funds belonged to parties not before the court. 2017 WL 3478810 at *3.
         See also Indep. Living Ctr. of S. California v. Kent, No. 2:08-CV-03315-CASMANX, 2019
WL 3717793, at *17 (C.D. Cal. Aug. 6, 2019) (citing Hartland, 544 F.2d at 1001 and Vincent v.
Hughes Air W., Inc., 557 F.2d 759, 765-66 (9th Cir. 1977), for the proposition that a district court
lacks jurisdiction to order nonparties to a suit to pay into a fund for attorney’s fees and denying
motion for a common fund attorneys’ fees award); cf. In re FedEx Ground Package Sys., Inc.,
Employment Practices Litig., No. 3:05-MD-527 RM, 2011 WL 611883, at *3 (N.D. Ind. Feb. 11,
2011) (“This court doesn’t have jurisdiction over cases never actually before this court, whether
state or federal, even though it's possible that attorneys in state or federal cases might use the work
done by co-lead and MDL counsel before this court. . . . Thus, co-lead counsel’s proposed language
applying their proposed order to cases ‘derivative’ of the MDL or that ‘rely on the work performed
in the MDL’ is outside the scope of this court’s power to order.”); In re Baycol Prod., No. MDL
1431, 2004 WL 190272, at *1 (D. Minn. Jan. 29, 2004) (even though case was originally filed in
federal court, it could not be subject to 6% holdback in MDL because it settled before the transfer
to the MDL; citing Hartland for the proposition, “a transferee court does not have jurisdiction”).
42
    Hartland addressed orders requiring a deposit of funds into the court registry for future
distribution, deemed the orders to be a “usurpation of power by the District Court,” and required
return of funds deposited with the clerk, plus interest, without undue delay. 544 F.2d at 1001-02.
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     B. The CLC’s Arguments Are Inapplicable Because It Did Not Secure A Global
        Settlement in Which Objectors Voluntarily Participated.

        The CLC admits there is no “national, court-approved settlement program for present

claims.” Proposed Order, 2:14-15 [Doc. 12394-26, Page 2 of 4]. The CLC seeks to elide over their

failure to help any clients other than their own by arguing, “the MDL leadership’s [sic] led the

Court to appoint Special Master Ken Feinberg, which in turn led to the current settlement of

Roundup cases.” 43 However, the CLC members settled their own cases and their settlement efforts

did not benefit any of the Objectors. 44 As chronicled above, the MDL Leadership harmed rather

than helped the settlement negotiations. Objectors’ cases either have not been settled at all, 45 or

where they succeeded, MDL Leadership did not assist the Objectors’ counsel in representing their

clients or in the settlements. 46 Indeed, Mr. Feinberg was not involved with all of the settlements. 47

        This is not a case where a global settlement was brokered and objectors to the common

benefit fee voluntarily participated in the settlement. On this issue, the CLC’s legal analysis is

fatally flawed, as the motion relies on cases where, unlike here, a voluntary global settlement was

before the Court. For example, as purported support for the argument that the MDL Leadership

provided a settlement benefit, the CLC cites a decision that in fact illustrates the opposite. The

CLC quotes the Syngenta case but tellingly omits references to the nationwide settlement obtained

there. 48 The Syngenta attorneys’ fees came out of the $1.51 billion in gross settlement proceeds,


43
   CLC Mot., 3:2-3 [Document 12394, Page 9 of 33].
44
   See Exhibit 1, Onder Aff., ¶¶ 9-10; Exhibit 3, Nachawati Decl., ¶ 10; Exhibit 4, Parekh Decl.,
¶ 9; Exhibit 5, Johnson Decl., ¶14; Exhibit 6, Scott Decl. ¶ 10; Exhibit 7, Mathews Decl. ¶ 9;
Exhibit 8, Pulaski Decl., ¶ 10.
45
   See Exhibit 1, Onder Aff. ¶ 8; Exhibit 3, Nachawati Decl., ¶ 10; Exhibit 4, Parekh Decl., ¶ 9;
Exhibit 6, Scott Decl., ¶ 10.
46
   See Exhibit 2, Hutton Decl., ¶ 9; Exhibit 5, Johnson Decl., ¶ 14, Pulaski Decl., ¶ 10.
47
   See Exhibit 5, Johnson Decl., ¶ 14.
48
   See CLC Mot., 3:3-7 [Doc. 12394, Page 9 of 33] (citing In re Syngenta AG Mir162 Corn Litig.,
No. 2:14-MD-02591-JWL-JPO, 2018 WL 7254709, at *20 (D. Kan. Nov. 21, 2018), R. & R.
                                                 13
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and the federal court’s jurisdiction over the res created by the opt-out class settlement was the

federal court’s stated basis for subject matter jurisdiction. 49 The opposite is true here; the CLC did

not obtain a nationwide settlement, there is no common fund, and rather than seeking payment

from the res they created, the CLC is demanding a cut of the proceeds in cases they had nothing

to do with that are not even before this Court. 50

       This is not the “exact circumstances for which the common fund benefit doctrine was

intended,” as the CLC’s motion argues. 51 The Supreme Court has stated, “a litigant or a lawyer

who recovers a common fund for the benefit of persons other than himself or his client is entitled

to a reasonable attorney's fee from the fund as a whole.” Boeing, 444 U.S. at 478 (citations omitted)

(emphasis added). Here, the CLC settled their own cases but failed to generate any fund benefiting

Roundup victims other than their own clients. 52



adopted as modified, No. 14-MD-2591-JWL, 2018 WL 6839380 (D. Kan. Dec. 31, 2018)). The
CLC’s motion deletes the underlined words from its quote to the decision:
        Here, the Settlement Agreement recognizes that the successful result in this case
        was obtained through the work of multiple counsel in multiple jurisdictions who
        collectively applied litigation pressure in multiple forums that ultimately persuaded
        Syngenta to resolve the various litigations through a nationwide class action
        settlement.
2018 WL 7254709, at *20 (emph. added); contrast CLC Mot., 3:4-7 [Doc. 12394, Page 9 of 33].
49
   See 2018 WL 7254709, at *23 (“As to subject matter jurisdiction, pursuant to the Settlement
Agreement, the Kansas federal court has continuing jurisdiction over the settlement and the res
created by it – the Gross Settlement Proceeds of $1.51 billion.”) (note omitted).
50
    Contrast also In re Vioxx Prod. Liab. Litig., 802 F. Supp. 2d 740, 760 (E.D. La. 2011) (case
involved a voluntary, opt-in pre-funded global settlement program) (Vioxx cited at CLC Mot., 6:1-
2 [Doc. 12394, Page 12 of 33]); In re Guidant Corp. Implantable Defibrillators Prod. Liab. Litig.,
No. MDL 05-1708 DWF/AJB, 2008 WL 682174, at *13 (D. Minn. Mar. 7, 2008) (voluntary global
settlement created that state court plaintiffs could chose to accept) (Guidant cited at CLC Mot.,
8:16-17, 8:20-22 [Doc. 12394, Page 14 of 33]).
51
   CLC Mot., 1:7 [Doc. 12394, Page 7 of 33].
52
   Undersigned caution the Court that the CLC miscites In re Zyprexa Prod. Liab. Litig., 594 F.3d
113 (2d Cir. 2010), by citing the concurring opinion as if it were the majority opinion. See CLC
Mot., 8:14 [Doc. 12394, Page 14 of 33] (citing pages 129-30 which are the concurring opinion,
without disclosing this in the citation). The majority opinion did not make any ruling on the merits
because the appeals court concluded that it lacked jurisdiction to hear the appeal. 594 F.3d at 118.
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  4. If a hold-back is truly warranted, why shouldn't it be much lower than the 8% requested by co-
      lead counsel?

       Answer: Objectors join and adopt the Category 3 Objectors’ Opposition brief filed this

day, which answers this question, in addition to making other arguments joined and adopted hereto.

                                         CONCLUSION

       Objectors’ cases are not pending before this Court, and their counsel did not sign

participation agreements. Thus, under controlling Ninth Circuit law, this Court does not have

jurisdiction to require a holdback of any settlement or judgment obtained by Objectors. Further,

Objectors did not obtain experts, discovery, or trial packets from MDL Leadership and the CLC’s

“unjust enrichment” arguments are false. The CLC did not benefit Objectors. Rather, the CLC

used its position for its own gain. Independently, “unjust enrichment” is not a substitute for

jurisdiction. Neither the appearance of the Defendants, nor appearance by Objectors’ counsel in a

tiny handful of cases transferred into this MDL, bestow jurisdiction to order holdbacks of

individual claims not pending before this MDL. Objectors respectfully submit that as to the cases

brought in state court, and those that have not been filed in any court, the CLC’s Motion should in

all things be denied.

Dated February 4, 2021                               Respectfully Submitted,

                                                     /s/ Arati C. Furness
                                                     Arati C. Furness, CA Bar No. 225435
                                                     Majed Nachawati

        The CLC’s motion also misstates the holding in In re Air Crash Disaster at Fl. Everglades
on Dec. 29, 1972, 549 F.2d 1006 (5th Cir. 1977), by arguing that “the Court of Appeals for the
Fifth Circuit . . . affirm[ed] an eight percent (8%) assessment on all prospective recoveries to be
taken from the individual lawyers’ fees.” CLC Mot., 9:4-6 [Doc. 12394, Page 15 of 33]. In truth,
the Fifth Circuit “h[e]ld that the power [to award compensation] was exercised in an erroneous
manner, and, therefore, reverse[d] and remand[ed] the case,” requiring that the district court
conduct a full evidentiary hearing and apply appropriate criteria before awarding fees. Id. at 1008,
1021. In re Air Crash Disaster exercised control of the monies involved in all suits pending before
the court.” 549 F.2d at 1018 (emphasis added) (note omitted).
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                              CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 4th day of February, 2021, a copy of the foregoing
Objection was filed with the Clerk of the Court through the CM/ECF system which sent notice of
the filing to all appearing parties of record.

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